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                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 Trevor Kelley,                                    Case No.: 2:17-cv-00597-DS

                    Plaintiff,
                                                   PLAINTIFF’S MOTION TO DISMISS
 v.
                                                   WITH PREJUDICE

 Carter's Retail,
                                                   Assigned to Honorable David Sam
                    Defendant.


        Plaintiff, Trevor Kelley, by and through undersigned counsel, hereby submits its Motion,

pursuant to Federal Rule of Civil Procedure 41 (a)(1)(A)(i) and DUCivR 54-1(b) and (d), Plaintiff

respectfully requests this Court dismiss this Action with prejudice.


        RESPECTFULLY submitted on this 19th day of September, 2017.


                                                     /s/ James K. Ord, III
                                                     JAMES K. ORD, III, ESQ.
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      Case 2:17-cv-00597-DS Document 9 Filed 09/19/17 PageID.29 Page 2 of 2




                                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of September 2017, I electronically transmitted the
foregoing document to the Clerk’s Office using the CM/ECF system for filing and transmittal of
a Notice of Electronic filing to be served upon all e-filing counsel of record as follows:


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/s/ Lisa Stamper*
(* I certify that I have the signed original of this document
which is available for inspection during normal business
hours by the Court or a party to this action)




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